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IN THE UNITED sTATEs DlsTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 05 JUH -9 H h= 33

EASTERN DIVISION

§§§”FT!?§ race 10

TORRI WILLIAMS, et a[., ) W [)l t§?' ";‘N ’v‘l~l;"gl{$
)
Plaintiffs, )
)

v. ) No: ]~02-1205-JDB-tmp

CORRECTIONS CORPORATION OF §
AMERICA, et al., )
)

Defendants.

 

AGREED ORDER HOLDING DEADLINES IN ABEYANCE

 

It appears to the satisfaction of the Court that the parties have agreed, as
evidenced by the signatures of counsel for all parties below, that all deadlines be held in
abeyance until after a scheduled Status Conference en June 24, 2005. This matter being
agreeable With the Court, it is hereby,

ORDERED, that all current deadlines are held in abeyance until after the
scheduled Status Cenference on June 24, 2005.

Dated: this Ci day of \_l U V\’g , 2005.

T/:>€ace.

M -Tu m pmm
UNITED STATES Brs-'FRH-:-=P JUDGE

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This notice confirms a copy ofthe document docketed as number 129 in
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EsSEE

 

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